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 5

 6     Attorneys for Plaintiff
 7
       Digital Marketing Advisors

 8                    IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11     Digital Marketing Advisors, a California Case No.: 2:21-cv-06888-AB-GJS
12     Corporation,
                                                The Honorable Andre Birotte Jr.
13                  Plaintiff,
14                                            REPLY MEMORANDUM OF
       vs.                                    POINTS AND AUTHORITIES IN
15
                                              SUPPORT OF MOTION TO
16
       McCandless Group, LLC, a Florida       WITHDRAW AS ATTORNEY
       Limited Liability Company; Nicholas
17     McCandless, an individual; DOES 1-10, Hon. André Birotte Jr.
18                                           Hearing Date: September 1, 2023
                   Defendants.
19                                           Hearing Time: 10:00 A.M.
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28     REPLY MEMORANDUM
       CASE NO.: 2:21-CV-06888-AB-GJS -1-
     Case 2:21-cv-06888-AB-MRW Document 102 Filed 08/14/23 Page 2 of 5 Page ID #:877



 1     Attorney Chris J. Zhen respectfully submits this Reply Memorandum
 2
       of Points and Authorities in response to Judgment Creditors’ opposition
 3

 4     (“Opposition”) to the Motion to Withdraw as Attorney (“Motion”).
 5

 6

 7
          I.        A Client’s Right to Discharge Its Attorney Is Absolute, and

 8                  Therefore Counsel Cannot Be Compelled to Serve Against the Rights
 9
                    of a Party
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11        Under the Local Rules, “[a]n attorney may not withdraw as counsel except by
12
       leave of the court.” L.R. 83-2.3.2. The motion for leave to withdraw “must be
13

14
       supported by good cause.” Id. The motion may only be made upon “written notice

15     given reasonably in advance to the client and to all other parties who have
16
       appeared in the action.” Id.
17

18        The law is clear that a client has the “absolute” right to discharge its attorney at
19
       any time for any reason. See Fracasse v. Brent (1972) 6 Cal. 3d 784, 790. This
20

21
       policy is expressed both judicially and legislatively in favor of the client's absolute

22     right. Id.
23
          In this case, the Plaintiff has discharged its attorney. Compelling an attorney to
24

25     continue representation would violate this absolute right. In addition, proper
26
       notices of this Motion have been given to all counsel and Judgment Debtor; proper
27

28     REPLY MEMORANDUM
       CASE NO.: 2:21-CV-06888-AB-GJS -2-
     Case 2:21-cv-06888-AB-MRW Document 102 Filed 08/14/23 Page 3 of 5 Page ID #:878



 1     notice of Local Rule 83-2.3.4 was provided to Plaintiff on or before January 5,
 2
       2023 so that Plaintiff has had sufficient time to retain new counsel. See Second
 3

 4     Declaration of Chris Zhen ¶4 (hereinafter “Second Declaration”); see, also,
 5
       Declaration of Mr. Urbina of May 23, 2023 [ECF No. 80-3 ¶4] (Plaintiff has been
 6

 7
       informed of the “consequences of Plaintiff’s inability to proceed pro se”).

 8        Accordingly, granting the Motion will not prejudice either Judgment Debtor or
 9
       Judgment Creditor.
10

11        Judgment Creditors’ opposition raises a series of points that are either
12
       inapposite or irrelevant.
13

14
          Judgment Creditors’ claims the Plaintiff has not been advised of the

15     consequences of proceeding pro se. Opposition at 11. The Plaintiff was provided
16
       such written notice. In any case, the Declaration of Mr. Urbina of May 23, 2023
17

18     indicates that the Plaintiff had been informed of the “consequences of Plaintiff’s
19
       inability to proceed pro se”. [ECF No. 80-3 ¶4].
20

21
          Judgment Creditors’ claims there was no irreconcilable differences or a

22     breakdown in communication. Opposition at 11. This is not true. There has been
23
       difficulties in communication. See Second Declaration ¶6. Such difficulties would
24

25     make any representation ineffective. Id.
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28     REPLY MEMORANDUM
       CASE NO.: 2:21-CV-06888-AB-GJS -3-
     Case 2:21-cv-06888-AB-MRW Document 102 Filed 08/14/23 Page 4 of 5 Page ID #:879



 1        Regarding the “administration of justice,” it is clear that a client has the
 2
       “absolute” right to discharge its attorney. See Fracasse v. Brent (1972) 6 Cal. 3d
 3

 4     784, 790.
 5
       II. CONCLUSION
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             Accordingly, the undersigned respectfully requests that the Court grant the

 8     Motion to Withdraw as Counsel and grant such other and further relief as is
 9
       deemed just and proper.
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       Dated: August 14, 2023           Respectfully Submitted,
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14
                                        ZHEN LAW FIRM

15                                      By: /s/ Chris J. Zhen
16                                      Chris J. Zhen
                                        Attorneys for Plaintiff
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                                        Digital Marketing Advisors
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28     REPLY MEMORANDUM
       CASE NO.: 2:21-CV-06888-AB-GJS -4-
     Case 2:21-cv-06888-AB-MRW Document 102 Filed 08/14/23 Page 5 of 5 Page ID #:880



 1                              CERTIFICATE OF SERVICE
 2

 3     The undersigned certifies that on this 14th day of August, 2023, all counsel of
 4     record who are deemed to have consented to electronic service are being served
 5     with a copy of this document through the Court’s CM/ECF system. Any other
 6
       counsel of record will be served by a facsimile transmission, first class mail, and/or
 7
       electronic mail.
 8

 9
                                        By:    /Chris J. Zhen/
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28     REPLY MEMORANDUM
       CASE NO.: 2:21-CV-06888-AB-GJS -5-
